 Fill in this information to identify your case:

 Debtor 1          William J. Huet
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            Lisa J. Huet
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Ohio
                                                      District of __________

 Case number         19-50025
                     ___________________________________________                                                                                                            
                                                                                                                                                                            ✔ Check if this is an
                     (If known)                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                  127,420.00
                                                                                                                                                                            $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                   257,422.87
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................              384,842.87
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                  105,960.16
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +          28,467.00
                                                                                                                                                                            $ ________________


                                                                                                                                       Your total liabilities                     134,427.16
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                    6,284.45
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................
                                                                                                                                                                                    5,976.51
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2

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   Debtor 1        William J. Huet
                   _______________________________________________________                                                   19-50025
                                                                                                      Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       
       ✔ Yes

   7. What kind of debt do you have?

       
       ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        7,227.78
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



       9d. Student loans. (Copy line 6f.)                                                                      $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                      0.00
                                                                                                               $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2

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Fill in this information to identify your case:

Debtor 1                      William J Huet

Debtor 2                      Lisa J Huet
(Spouse, if filing)

United States Bankruptcy Court for the:        NORTHERN DISTRICT OF OHIO

Case number                                                                                             Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                              Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Lowes Home Centers LLC                     Federal Express Corporation

       Occupation may include student        Employer's address
                                                                   1605 Curtis Bridge Rd                      30 FedEx Pkwy 2nd Flr
       or homemaker, if it applies.
                                                                   Wilkesboro, NC 28697                       Collierville, TN 38017

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        3,755.85      $          4,966.12

3.     Estimate and list monthly overtime pay.                                              3.   +$          106.86      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,862.71            $    4,966.12




Official Form 106I                                                      Schedule I: Your Income                                                 page 1


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Debtor 1   William J Huet
Debtor 2   Lisa J Huet                                                                           Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      3,862.71       $         4,966.12

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        533.35   $               980.24
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $               496.62
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                 0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $               722.54
     5e.    Insurance                                                                     5e.        $          0.00   $               214.52
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
     5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
     5h.    Other deductions. Specify: HSA                                                5h.+       $          0.00 + $                65.30
            Charitable contribution                                                                  $          0.00   $                 4.03
            Health savings account                                                                   $          0.00   $                27.78
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            533.35       $        2,511.03
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,329.36       $        2,455.09
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $        500.00       $                0.00
     8d. Unemployment compensation                                                        8d.        $          0.00       $                0.00
     8e. Social Security                                                                  8e.        $          0.00       $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            500.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,829.36 + $       2,455.09 = $            6,284.45
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           6,284.45
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Mother expected to move to assisted living; Debtor 1 may have substantial decrease in income due
                             to injury




Official Form 106I                                                     Schedule I: Your Income                                                       page 2


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Fill in this information to identify your case:

Debtor 1              William J Huet                                                                       Check if this is:
                                                                                                            An amended filing
Debtor 2              Lisa J Huet                                                                           A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF OHIO                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Child                                12               Yes
                                                                                                                                         No
                                                                                   Child                                15               Yes
                                                                                                                                         No
                                                                                   Child                                18               Yes
                                                                                                                                         No
                                                                                   Mother of Debtor 2                   71               Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             763.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1



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Debtor 1     William J Huet
Debtor 2     Lisa J Huet                                                                               Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                250.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,600.00
8.    Childcare and children’s education costs                                                 8. $                                               200.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               300.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                              1,150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 550.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  163.51
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pets                                                                21. +$                                                100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,976.51
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,976.51
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,284.45
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,976.51

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 307.94

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: Mother expected to move to assisted living




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2



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